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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.      2:21-cv-05617-VBF-SHK                               Date: November 29, 2021
  Title: Christopher Wilson v. Los Angeles Police Department, et al.



 Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge


                D. Castellanos                                        Not Reported
                Deputy Clerk                                         Court Reporter


     Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                None Present                                          None Present


 Proceedings (IN CHAMBERS): ORDER TO SHOW CAUSE WHY “OFFICER
                            WHITEMAN” SHOULD NOT BE DISMISSED

        For the following reasons, the Court lifts its previous order to show cause (“OSC”) and
 orders pro se Plaintiff Christopher Wilson (“Plaintiff”) to show cause one final time why
 “Officer Whiteman” should not be dismissed from this case. Electronic Case Filing Number
 (“ECF No.”) 23, First Amended Complaint (“FAC”) at 1; ECF No. 35, OSC.

        In this case, the Court has repeatedly ordered Plaintiff to show cause why Defendants
 Azim Bautista, Gabriel Valdovinos, Raymond Bizon, Ronald Aguirre, Melissa Saenz, Sylvia
 Meraz, Phillip Zalba, Eloy Way, John Thompson, Tyler Whiteman, Antonia Garcia, Austin
 Brown, Eduardo Gonzalez, Officer Huacuja, Officer Whiteman, Sergeant Blocker, and Thomas
 Garcia (collectively “Individual Defendants”) should not be dismissed from this action without
 prejudice for Plaintiff’s failure to prove that he properly served Individual Defendants. See ECF
 Nos. 25, 35 OSCs.

        To date, Plaintiff has provided proofs of service (“POS”) for all Defendants named in the
 FAC besides “Officer Whiteman” and all Defendants besides Officer Whiteman have made an
 appearance in this case by moving to dismiss the FAC. See ECF Nos. 28, 36, Motions to
 Dismiss (“MTD”). Further, it appears that Officer Whiteman―the only unserved
 defendant―might be the same person as Tyler Whiteman, regarding whom Plaintiff has filed a
 POS, and who has also appeared in this case by filing a MTD as noted above.

       Consequently, Plaintiff is ordered to show cause one final time by December 13, 2021
 why “Defendant Whiteman” should not be dismissed from this case without prejudice: (1) for

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 Plaintiff’s repeated failure to serve “Officer Whiteman” and (2) because Defendant “Officer
 Whiteman” appears to be the same individual as “Tyler Whiteman” who has been served and
 who is already participating in this litigation.

         Plaintiff can satisfy this OSC by indicating in writing by December 13, 2021 whether
 “Officer Whiteman” and “Tyler Whiteman” are two different individuals and, if so, why Plaintiff
 has repeatedly failed to file a POS for “Officer Whiteman” despite the Court’s numerous
 warnings that unserved defendants will be dismissed from this case. Plaintiff is warned that
 failure to timely respond to this Order will result in a recommendation to the assigned United
 States District Judge that “Officer Whiteman” be dismissed from the case without prejudice for
 Plaintiff’s repeated failure to prosecute and follow Court orders, and also because it appears that
 Defendant “Officer Whiteman” and “Defendant Tyler Whiteman” are the same individual, and
 the named defendant Tyler Whiteman is already litigating this case.

         IT IS SO ORDERED.




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